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                                               United States Bankruptcy Court
                                                    Northern District of Mississippi
 In re   Trigger Time Indoor Shooting Range, Inc.                                                 Case No.     23-12234-SDM
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     August 28, 2023                                /s/ Greg Grissom
                                                         Greg Grissom/President
                                                         Signer/Title
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American Express
P.O. Box 650448
Dallas, TX 75265-0448

American Financial Credit Services, Inc.
10333 N Meridian Street
Suite 270
Indianapolis, IN 46290

Ascentium Capital
23970 Highway 59 North
Kingwood, TX 77339-1535

Bank Five Nine
Corporate Office
P.O. Box 1004
Oconomowoc, WI 53066-6004

Cadence Bank
P.O. Box 3370
Tupelo, MS 38803

U.S. Small Business Administration
P.O. Box 3918
Portland, OR 97208-3918

U.S. Small Business Administration
c/o United States Attorney
900 Jefferson Avenue
Oxford, MS 38655-3608
